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AO 442 (Rev. 11/11) Arrest Warrant

 

UNITED STATES DISTRICT COURT

 

for the
District of Columbia
United States of America
V. )
) Case: 1:23-mj-00032
Michael John Dillon ) Assigned to: Judge Meriweather, Robin M.
) Assign Date: 2/6/2023
) Description: COMPLAINT W/ ARREST WARRANT
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Michael John Dillon ‘
who is accused of an offense or violation based on the following document filed with the court:
(4 Indictment C1 Superseding Indictment Information © Superseding Information [%{ Complaint
1 Probation Violation Petition 1 Supervised Release Violation Petition OViolation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds

18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds
40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building

40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building

~ 2023.02.07
hem 9931-46 -05'00

Issuing officer’s signature

 

Date: 02/07/2023

City and state: Washington, D.C. Robin M. Meriweather, U.S. Magistrate Judge

Printed name and title

 

 

Return

 

This warrant was received on (date) CS/g7 / 20 ZZ_,and the person was arrested on (date) OP /} 3 Paz3

at (city and state) Fa f £ m Yet Sy — for, J¢ ‘
Date: 02/ (3 [ Zo a} \. Wy (L_

Cj Arresting officer's signature
FO SPCGLA [Ag( at tamcs Ron CaSlee

Printed name and title

 

 

 

 
